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AO 93 (Rev. 11/13) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT -

for the

District of New Mexico RA-LAS CR

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Brooke Chandler (DOB: 02/23/1995)

Case No. 1\A-"1AO NKR

ee eee ee”

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located inthe = __ _ Districtof = = New Mexico

(identify the person or describe the property to be searched and give its location):

The person known as Brooke Chandler with the last four of his social security number 1765.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

DNA samples from Brooke Chandler, in the form of buccal cells on oral swabs. The oral swabs will be collected from the
inside cheeck portion of the mouth to sufficiently collect buccal cells.

YOU ARE COMMANDED to execute this warrant on or before yi al? é. 7} i 7 (not to exceed 14 days)
ig f
@ in the daytime 6:00 a.m. to 10:00 p.m. Cat any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Gregory J. Fouratt
(United States Magistrate Judge)

 

O Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for days (not to exceed 30) 1 until, the facts justifying, the later specific date of y)

 

 

 

Wy
Date and time issued: WE 0b 2. Z2

NE ff Judge's ¥ignature
City and state: Las Cruces, NM Gregory # Fouratt, U.S. Magistrate Judge

 

 

Printed name and title
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Return
Case No.: Date me warrant executed: Copy of warrant and inventory left with:
(4-JOme [ts 410 ar Bertie Chond lam
Inventory made in the presence of :

 

o/h KK Ins

 

Inventory of the property taken and name of any petson(s) seized:

(2) Zarccal Swabs Com se cheole of dee Chadler
et” DNA collector.

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: b/LY LIS —_ jp B=
Executing officer's signature

Dasep l CSSte SA

Printed name and title

 

 

 
